Case 2:11-cv-01754-BRM-AME Document 621 Filed 07/23/20 Page 1 of 3 PageID: 47359




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   KIMBERLEE WILLIAMS, et al.
                                                    No. 2:11-cv-01754 (ES) (JAD)
   Plaintiffs,
                       vs.
                                                           CIVIL ACTION
   BASF CATALYSTS LLC, et al.

   Defendants.


      MOTION FOR PRELIMINARY APPROVAL OF THE CLASS
      ACTION SETTLEMENT AGREEMENT AND CONDITIONAL
                   CLASS CERTIFICATION


        Plaintiffs, through their counsel, Cohen, Placitella & Roth, P.C., move

  pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(3), and 23(e), for the entry

  of the Proposed Preliminary Approval Order. The proposed order seeks: (1)

  preliminary approval of the Settlement Agreement; (2) conditional certification of a

  Settlement Class; (3) appointment of Kimberlee Williams, Gayle Williams, Marilyn

  L. Holley, Sheila Ware, Donnette Wengerd, and Rosanne Chernick as

  representatives for the Class; (4) appointment of Christopher M. Placitella as Lead

  Class Counsel and Stewart L. Cohen, Harry M. Roth, Michael Coren, Robert L.

  Pratter, Eric S. Pasternack, Jared M. Placitella and the law firm of Cohen Placitella

  & Roth, P.C., as Class Counsel; (5) approval of the proposed Plan of Distribution;


                                            1
Case 2:11-cv-01754-BRM-AME Document 621 Filed 07/23/20 Page 2 of 3 PageID: 47360




  (6) approval of the proposed Notice Plan; (7) appointment of the Hon. Marina

  Corodemus, J.S.C. (Retired) to the position of Settlement Trustee and Special Master

  under Federal Rule of Civil Procedure 53; (8) appointment of Verus LLC as the

  Settlement Administrator; (9) appointment of Edgar C. Gentle, III, Esq. as the Lien

  Administrator; (10) appointment of BrownGreer PLC as the Settlement Notice

  Agent; (11) setting certain deadlines regarding notice to the putative Class and to

  implement the proposed Plan of Distribution; (12) scheduling of a Fairness Hearing;

  (13) establishing the Cost Fund and the Settlement Fund; and (14) the stay of the

  Williams Action except as may be necessary to implement the Settlement and Plan

  of Distribution or to comply with the Preliminary Approval Order, as well as any

  other matter by any putative Class Member or anyone who purports to act on their

  behalf unless and until a Class Member’s Opt-Out becomes effective on the date this

  Court grants Final Approval of the Settlement Agreement, approval of the

  Settlement Agreement is denied, or the Settlement Agreement is otherwise

  terminated.

        1.      The terms of the Settlement are set forth in the Settlement Agreement

  dated March 13, 2020.

        2.      The relief sought in this Motion is supported by:

                a. Memorandum of Law in Support of Preliminary Approval and

                   Conditional Class Certification; and

                                            2
Case 2:11-cv-01754-BRM-AME Document 621 Filed 07/23/20 Page 3 of 3 PageID: 47361




              b. Certification of Christopher M. Placitella, Esq., including the

                 exhibits attached thereto.

        WHEREFORE, Plaintiffs request that the Court enter the proposed

  Preliminary Approval Order.

                           Respectfully Submitted,

                           COHEN, PLACITELLA & ROTH, P.C.

                            /s/ Christopher M. Placitella
                           Christopher M. Placitella, Esq. (NJ Atty #: 027781981)
                           Michael Coren, Esq. (NJ Atty #: 024871979)
                           Jared M. Placitella, Esq. (NJ Atty #: 068272013)
                           Eric S. Pasternack, Esq. (NJ Atty #: 015132011)
                           127 Maple Avenue
                           Red Bank, NJ 07701
                           (732) 747-9003

                           Attorneys for Plaintiffs and the Putative Class
  Dated: July 16, 2020




                                              3
